                                                        Case 2:19-cv-01136-DSF-PLA Document 18 Filed 03/08/19 Page 1 of 4 Page ID #:54



                                                               1    Snell & Wilmer
                                                                    Becca J. Wahlquist, Bar No. 215948
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                                                                    Daniel G. Seabolt
                                                               3    dseabolt@swlaw.com
                                                                    350 S. Grand Avenue, Suite 3100
                                                               4    Los Angeles, California 90071
                                                                    Telephone: 213.929.2500
                                                               5    Facsimile: 213.929.2525
                                                               6    Attorneys for Defendant
                                                                    Implant Educators, Inc.
                                                               7
                                                               8                           UNITED STATES DISTRICT COURT
                                                               9                          CENTRAL DISTRICT OF CALIFORNIA
                                                               10                                  WESTERN DIVISION
                                                               11
SNELL & WILMER

                               LOS ANGELES, CALIFORNIA 90071




                                                               12   Michael Papadopoulos Dental                Case No. 2:19-cv-1136-CAS-PLA
                                 350 SOUTH GRAND AVENUE

                                    CITY NATIONAL 2CAL




                                                                    Corporation, a California corporation,
                      LAW OFFICES

                                         SUITE 3100




                                                               13   individually and on behalf of all others   Hon. Christina A. Snyder, Ctrm 8D
             L.L.P.




                                                                    similarly situated,
                                                               14                                              STIPULATION UNDER L.R. 8-3
                                                                                     Plaintiff,                TO EXTEND THE TIME TO
                                                               15                                              RESPOND TO THE
                                                                             v.                                COMPLAINT BY NO MORE
                                                               16                                              THAN 30 DAYS
                                                                    Implant Educators, Inc., a Florida
                                                               17   corporation,                               Complaint Served: 2/22/2019
                                                               18                    Defendant.                Current Response Date: 3/15/2019
                                                                                                               New Response Date: 4/15/2019
                                                               19
                                                               20                                              Trial Date:Not yet set
                                                                                                               Date Action Filed:     2/19/2019
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                                                               28
                                                                                                                         Stipulation Under L.R.8-3 to Extend Time to
                                                                    4827-0199-6425                                   Respond to Complaint by No More Than 30 Days
                                                                                                                                         2:19-CV-1136-CAS-PLA
                                                        Case 2:19-cv-01136-DSF-PLA Document 18 Filed 03/08/19 Page 2 of 4 Page ID #:55



                                                               1             Pursuant to Local Rule 8-3 of the United States District Court for the Central
                                                               2    District of California, plaintiff Michael Papadopoulos Dental Corporation
                                                               3    (“Plaintiff”) and defendant Implant Educators, Inc. (“IEI”), through their attorneys,
                                                               4    stipulate and agree as follows:
                                                               5             1.      On February 19, 2019, Plaintiff filed his Complaint in this action
                                                               6    against IEI.
                                                               7             2.      IEI does not contest that it was served with the Summons and
                                                               8    Complaint in this action on February 22, 2019.
                                                               9             3.      IEI’s response in this action is currently due on March 15, 2019.
                                                               10            4.      The parties have agreed to extend the time for IEI to respond so that
                                                               11   the Complaint may be investigated and the litigation discussed by the parties.
SNELL & WILMER

                               LOS ANGELES, CALIFORNIA 90071




                                                               12            5.      Plaintiff and IEI thus agree to extend by a total of thirty (30) days the
                                 350 SOUTH GRAND AVENUE

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                                                               13   date for IEI to file and serve a response to Plaintiff’s Complaint in this action.
             L.L.P.




                                                               14            6.      Accordingly, IEI shall file and serve its response to Plaintiff’s
                                                               15   Complaint in this action on or before April 15, 2019.
                                                               16   Dated:           March 8, 2019                  SNELL & WILMER L.L.P.
                                                               17
                                                               18                                                   By: /s/ Becca Wahlquist
                                                                                                                       Becca J. Wahlquist
                                                               19                                                      Daniel G. Seabolt
                                                               20                                                   Attorneys for Defendant
                                                                                                                    Implant Educators, Inc.
                                                               21
                                                               22   Dated:           March 8, 2019                  KAMBERLAW, LLP
                                                                                                                    WOODROW & PELUSO, LLC
                                                               23
                                                               24
                                                                                                                    By: /s/ Michael Aschenbrener
                                                               25                                                      Michael Aschenbrener
                                                               26                                                   Attorneys for Plaintiff
                                                               27                                                   Michael Papadopoulos Dental
                                                                                                                    Corporation
                                                               28
                                                                                                                                  Stipulation Under L.R.8-3 to Extend Time to
                                                                    4827-0199-6425                                            Respond to Complaint by No More Than 30 Days
                                                                                                                                                  2:19-CV-1136-CAS-PLA
                                                    Case 2:19-cv-01136-DSF-PLA Document 18 Filed 03/08/19 Page 3 of 4 Page ID #:56



                                                               1                                ATTORNEY ATTESTATION
                                                               2             I, Becca Wahlquist, am the ECF User whose ID and password are being used
                                                               3    to file this Stipulation. In compliance with Local Rule 5-4.3.4(a)(2)(i), I hereby
                                                               4    attest that all other signatories listed, and on whose behalf the filing is submitted,
                                                               5    concur in the filing’s content and have authorized the filing.
                                                               6
                                                                     Dated:          March 8, 2019               SNELL & WILMER L.L.P.
                                                               7
                                                               8
                                                                                                                 By: /s/ Becca J. Wahlquist
                                                               9                                                    Becca J. Wahlquist
                                                               10                                                Attorneys for Defendant
                                                                                                                 Implant Educators, Inc.
                                                               11
SNELL & WILMER

                               LOS ANGELES, CALIFORNIA 90071




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             L.L.P.




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                                                                                                                               Stipulation Under L.R.8-3 to Extend Time to
                                                                    4827-0199-6425                            -2-          Respond to Complaint by No More Than 30 Days
                                                                                                                                               2:19-CV-1136-CAS-PLA
                                                    Case 2:19-cv-01136-DSF-PLA Document 18 Filed 03/08/19 Page 4 of 4 Page ID #:57



                                                               1                                        PROOF OF SERVICE
                                                               2
                                                                             I, Becca Wahlquist, declare as follows:
                                                               3
                                                                             I am employed in Los Angeles County, Los Angeles, California. I am over
                                                               4
                                                                    the age of eighteen years and not a party to this action. My business address is
                                                               5
                                                                    Snell & Wilmer L.L.P., 350 S. Grand Avenue, Suite 3100, Los Angeles, California
                                                               6
                                                                    90071. On March 8, 2019, I served the within:
                                                               7
                                                                             STIPULATION UNDER L.R. 8-3 TO EXTEND THE TIME TO
                                                               8
                                                                             RESPOND TO THE COMPLAINT BY NO MORE THAN 30
                                                               9             DAYS
                                                               10
                                                                    on the interested parties in this action addressed as follows:
                                                               11
SNELL & WILMER




                                                                            Michael J Aschenbrener, masch@kamberlaw.com
                               LOS ANGELES, CALIFORNIA 90071




                                                               12
                                 350 SOUTH GRAND AVENUE

                                    CITY NATIONAL 2CAL




                                                                            Steven L Woodrow, swoodrow@woodrowpeluso.com
                      LAW OFFICES

                                         SUITE 3100




                                                               13
             L.L.P.




                                                               14
                                                                                 (BY ELECTRONIC MAIL) By transmitting such document(s) electronically via the
                                                               15              Central District of California’s CM/ECF system, to the persons at the electronic mail
                                                               16                addresses listed above.

                                                               17            I declare under penalty of perjury under the laws of the United States that the
                                                               18   foregoing is true and correct and that this declaration was executed on March 8,
                                                               19   2019, at Los Angeles, California.
                                                               20
                                                               21                                                                    /s/ Becca Wahlquist
                                                                                                                                       Becca Wahlquist
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                                                                                                                                      Stipulation Under L.R.8-3 to Extend Time to
                                                                    4827-0199-6425                                  -3-           Respond to Complaint by No More Than 30 Days
                                                                                                                                                      2:19-CV-1136-CAS-PLA
